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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

PAMELA R. MATHEWS,

       Plaintiff,

v.                                                Case No.: 6:21-cv-00808-WWB-EJK

BRYAN A. COLE,

     Defendant.
___________________________/

     DEFENDANT’S NOTICE OF FILING MATERIALS IN SUPPORT OF MOTIONS

       Defendant, Bryan A. Cole (“Cole”), by and through his undersigned counsel,

hereby gives notice of filing the following materials in support of his Motion to Exclude the

Purported Expert Opinions of Patricia Maisano Under Fed. R. Civ. P. 37, Fed. R. Evid.

702 And Daubert (Doc. 75) and Motion for Partial Summary Judgment (Doc. 76):

       a.      The July 20, 2022 deposition transcript of Patricia A. Maisano with

               referenced exhibits, attached hereto as Exhibit “A”;

       b.      Excerpts from the July 22, 2022 deposition transcript of David S. Klein, MD,

               attached hereto as Exhibit “B”;

       c.      Excerpts from the March 21, 2022 deposition transcript of Toni Furbringer,

               Ph.D., LCSW, attached hereto as Exhibit “C”;

       d.      Excerpts from the May 18, 2022 deposition transcript of Walter Glenn

               Glover, attached hereto as Exhibit “D”; and

       e.      Excerpts from the April 26, 2022 deposition transcript of John Hudson, MD,

               attached hereto as Exhibit “E”.
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 1st day of September, 2022, I electronically filed
the foregoing Defendant’s Notice of Filing Materials in Support of Motions with the
Clerk of the Court by using the CM/ECF system, which will send an electronic copy to the
following:

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                                               By: /s/ I. William Spivey, II
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